 Case 14-31229-sgj15      Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57   Desc
                            Main Document    Page 1 of 38



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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


 In re:                                           Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),                Case No. 14-31229-sgj-15

              Debtor in a Foreign Proceeding.


                    MEMORANDUM OF LAW IN SUPPORT OF
          AMENDED PETITION FOR RECOGNITION AND CHAPTER 15 RELIEF
 Case 14-31229-sgj15                    Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                                           Desc
                                          Main Document    Page 2 of 38




                                                   TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1

BACKGROUND ............................................................................................................................ 2

JURISDICTION AND VENUE ..................................................................................................... 4

ARGUMENT .................................................................................................................................. 5

I.      THE JAPAN PROCEEDING MEETS THE REQUIREMENTS FOR RECOGNITION ... 5

        A.       The Petitioner Qualifies As the Debtor’s Foreign Representative. .............................. 5

        B.       The Japan Proceeding is a Foreign Proceeding. .......................................................... 6

        C.       The Japan Proceeding Is A Foreign Main Proceeding. .............................................. 10

        D.       In the Event the Japan Proceeding Is Not Recognized as a Foreign Main
                 Proceeding, It Should Be Recognized as a Foreign Nonmain Proceeding. .............. 23

        E.       The Requirements of Section 1515 Have Been Satisfied. ......................................... 25

        F.       Recognition of the Japan Proceeding Would Not Be Manifestly Contrary to
                 U.S. Public Policy ...................................................................................................... 26

II.     THE PETITIONER REQUESTS ADDITIONAL NECESSARY AND APPROPRIATE
        RELIEF PURSUANT TO BANKRUPTCY CODE SECTION 1521(a) ............................ 27

CONCLUSION ............................................................................................................................. 29

Exhibit A: Cited Provisions of the UNCITRAL Guide ................................................................. 1




                                                                      i
 Case 14-31229-sgj15                   Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                                          Desc
                                         Main Document    Page 3 of 38



                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)
CASES

Hertz Corp. v. Friend,
   559 U.S. 77 (2010) ...................................................................................................................13

In re ABC Learning Ctrs. Ltd.,
    445 B.R. 318 (Bankr. D. Del. 2010), aff’d, 728 F.3d 301 (3d Cir. 2013) .................................8

In re Bear Stearns High-Grade Structured Credit Strategies Master Fund,
    374 B.R. 122 (Bankr. S.D.N.Y. 2007), aff’d 389 B.R. 325 (S.D.N.Y. 2008) .............11, 12, 24

In re Betcorp Ltd.,
    400 B.R. 266 (Bankr. D. Nev. 2009) ............................................................................... passim

In re British Am. Ins. Co.,
    425 B.R. 884 (Bankr. S.D. Fla. 2010)................................................................................15, 17

In re Chiang,
    437 B.R. 397 (Bankr. C.D. Cal. 2010).....................................................................................11

In re Ephedra Prod. Liab. Litig.,
    349 B.R. 333 (S.D.N.Y. 2006).................................................................................................14

In re Fairfield Sentry Ltd.,
    440 B.R. 60 (Bankr. S.D.N.Y. 2010), aff’d, 2011 WL 4357421 (S.D.N.Y. Sept. 16,
    2011), aff’d, 714 F.3d 127 (2d Cir. 2013) ...............................................................................13

In re Gerova Fin. Grp., Ltd.,
    482 B.R. 86 (Bankr. S.D.N.Y. 2012) .......................................................................................12

In re Iida,
    377 B.R. 243 (9th Cir. BAP 2007)...........................................................................................27

In re Millennium Global Emerging Credit Master Fund Ltd.,
    458 B.R. 63 (Bankr. S.D.N.Y. 2011), aff'd, 474 B.R. 88 (S.D.N.Y. 2012) .............................25

In re SPhinX,
    351 B.R. 103 (Bankr. S.D.N.Y. 2006), aff’d, 371 B.R. 10 (S.D.N.Y. 2007) ..........................18

In re Tradex Swiss AG,
    384 B.R. 34 (Bankr. D. Mass. 2008) .......................................................................................11

In re Tri-Cont’l Exch. Ltd.,
    349 B.R. 627 (Bankr. E.D. Cal. 2006), aff’d, 389 B.R. 326 (S.D.N.Y. 2008) ............11, 13, 26




                                                                    ii
 Case 14-31229-sgj15                     Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                                             Desc
                                           Main Document    Page 4 of 38



Lavie v. Ran (In re Ran),
   607 F.3d 1017 (5th Cir. 2010) ......................................................................................... passim

Morning Mist Holdings Ltd. v. Krys (In re Fairfield Sentry Ltd.),
  714 F.3d 127 (2d Cir. 2013) ............................................................................................ passim

STATUTES

11 U.S.C. § 101(23) .............................................................................................................. passim

11 U.S.C. § 101(24) ............................................................................................................2, 5, 6, 7

11 U.S.C. § 101(41) ................................................................................................................2, 5, 6

11 U.S.C. § 1501 ............................................................................................................................27

11 U.S.C. § 1502 ............................................................................................................5, 10, 23, 24

11 U.S.C. § 1506 ......................................................................................................................14, 26

11 U.S.C. § 1508 ........................................................................................................................7, 13

11 U.S.C. § 1509 ........................................................................................................................4, 27

11 U.S.C. § 1515 ..........................................................................................................2, 4, 5, 25, 26

11 U.S.C. § 1516 ........................................................................................................................4, 11

11 U.S.C. § 1517 .................................................................................................................... passim

11 U.S.C. § 1520 ..................................................................................................................4, 27, 29

11 U.S.C. § 1521 ............................................................................................................4, 27, 28, 29

11 U.S.C. § 1522 ..................................................................................................................4, 28, 29

28 U.S.C. § 157 ................................................................................................................................4

28 U.S.C. § 1334 ..............................................................................................................................4

28 U.S.C § 1410 ...............................................................................................................................4

OTHER AUTHORITIES

H.R. Rep. No. 109-31(I), (2005), reprinted in 2005 U.S.C.C.A.N. 88 .........................................13

Jay Lawrence Westbrook, Chapter 15 at Last, 79 AM. BANKR. L.J. 713, 719–20 (2005) .......12, 13




                                                                      iii
 Case 14-31229-sgj15                      Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                                                Desc
                                            Main Document    Page 5 of 38



Guide to Enactment of the UNCITRAL Model Law on Cross-Border Insolvency,
   available at http://www.uncitral.org/pdf/english/texts/insolven/1997-Model-Law-
   Insol-2013-Guide-Enactment-e.pdf. ........................................................................................13

DOCKETED CASES

CoinLab, Inc. v. MtGox KK,
   Case No. 13-0777 (MJP) (W.D. Wash. May 2, 2013) .............................................................17

Greene v. MtGox KK,
   Case No. 14-01437(GF) (N.D. Ill. Feb 27, 2014) ....................................................................17

In re Elpida Memory, Inc.,
    Case No. 12-10947 (Bankr. D. Del. Apr. 24, 2012) ..................................................................9

In re Gestion-Privee Location L.L.C.,
    Case No. 06-80071 (Bankr. M.D.N.C. Feb. 24, 2006) ..............................................................9

In re Iida,
    Case No. 06-00376 (Bankr. D. Haw. July 14, 2006), aff’d 377 B.R. 243 (9th Cir. BAP
    2007) ..........................................................................................................................................9

In re Japan Airlines Corp.,
    Case No. 10-10198 (Bankr. S.D.N.Y. Feb. 17, 2010) .............................................................10

In re Kokura,
    Case No. 06-00849 (Bankr. D. Haw. Dec. 22, 2006) ................................................................9

In re Nanbu, Inc.,
    Case No. 09-01274 (Bankr. D. Haw. July 15, 2009) .................................................................9

In re Spansion Japan Ltd.,
    Case No. 09-11480 (Bankr. D. Del. May 28, 2009) ................................................................10

In re Three Estates Co., Ltd.,
    Case No. 07-23597 (Bankr. E.D. Cal. Aug. 30, 2007) ..............................................................9




                                                                         iv
    Case 14-31229-sgj15         Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                    Desc
                                  Main Document    Page 6 of 38



          Nobuaki Kobayashi, in his capacity as the bankruptcy trustee and foreign representative

(the “Petitioner”) of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor” or “MtGox”), a debtor in a

bankruptcy proceeding under Japanese law (the “Japan Proceeding”), currently pending before

the Twentieth Civil Division of the Tokyo District Court, Japan (the “Tokyo Court”), by his

undersigned U.S. counsel, submits this memorandum of law in support of his Amended Verified

Petition for Recognition and Chapter 15 Relief (the “Amended Petition”), seeking recognition of

the Japan Proceeding as a foreign main proceeding or, in the alternative, as a foreign nonmain

proceeding, and related relief under Chapter 15 of title 11 of the United States Code (the

“Bankruptcy Code”) as set forth therein and herein, and entry of an order substantially in the

form attached to the Amended Petition as Exhibit E (the “Order”).

                                    PRELIMINARY STATEMENT

          1.      The Petitioner is the duly authorized foreign representative of MtGox in

connection with its Japan Proceeding pending before the Tokyo Court. 1 Pursuant to the

Bankruptcy Order (defined below) of the Tokyo Court appointing him the bankruptcy trustee of

the Debtor, the Petitioner is charged with administering and realizing upon the assets of the

Debtor and distributing those assets in accordance with the insolvency laws of Japan and under

the supervision of the Tokyo Court.            In furtherance of these duties, the Petitioner, as the

bankruptcy trustee and foreign representative of the Debtor, seeks foreign main recognition or, in

the alternative, foreign nonmain recognition, of the Japan Proceeding in aid of his efforts to

maximize recoveries to, and provide for an equitable distribution of value among, all creditors.

          2.      Chapter 15 of the Bankruptcy Code authorizes this Court to, among other things,

(i) recognize a foreign proceeding upon a foreign representative’s proper commencement of a

1     The facts pertinent to the Amended Petition are set forth in the Declaration of Nobuaki Kobayashi (the
      “Kobayashi Declaration” or “Kobayashi Decl.”), submitted contemporaneously herewith in support of the
      Amended Petition.
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57               Desc
                              Main Document    Page 7 of 38



case under Chapter 15 of the Bankruptcy Code and (ii) once recognition is granted, provide

further assistance in the United States to such foreign representative with respect to the foreign

proceeding consistent with the statutory purposes of Chapter 15 to facilitate and foster

cooperation in cross-border insolvency proceedings.

       3.      As explained herein, all of the requirements for Chapter 15 recognition of the

Japan Proceeding as a “foreign proceeding” have been satisfied: (i) the Japan Proceeding is a

“foreign proceeding” within the meaning of section 101(23) of the Bankruptcy Code; (ii) the

Petitioner is a “foreign representative” and “person” within the meaning of sections 101(24) and

(41) of the Bankruptcy Code; (iii) the Amended Petition meets the filing requirements of section

1515 of the Bankruptcy Code; and (iv) recognition of the Japan Proceeding would not be

manifestly contrary to U.S. public policy.        Furthermore, as explained below, the Japan

Proceeding should be accorded recognition as a “foreign main proceeding” under section 1517 of

the Bankruptcy Code because the “center of main interests” (“COMI”) of the Debtor is in Japan,

the jurisdiction where, inter alia, the Debtor’s registered office and head office are, and have

always been, located.

                                        BACKGROUND

       4.      MtGox is a Japanese corporation formed in 2011. It is, and always has been,

located, centered and headquartered in Tokyo, Japan. MtGox’s business involved the operation

of an online bitcoin exchange through the website mtgox.com (the “MtGox Exchange”). There

were times during this period when the MtGox Exchange was reported to be the largest online

bitcoin exchange in the world, but that is no longer the case.

       5.      On or about February 10, 2014, MtGox halted all bitcoin withdrawals by its

customers after MtGox was subject to what appears to have been a massive theft or

disappearance of bitcoins held by MtGox both on behalf of its customers and itself. According


                                                 2
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                 Desc
                              Main Document    Page 8 of 38



to the Japan Petition (defined below), MtGox suspended all trading on the MtGox Exchange on

February 24, 2014 after it was discovered, according to an internal investigation, that

approximately 850,000 bitcoins were missing from both customer accounts and MtGox’s

accounts. These events caused, among other things, MtGox to become insolvent and ultimately

led to the Japan Proceeding.

       6.      On February 28, 2014, the Debtor filed a petition (the “Japan Petition”) for the

commencement of a civil rehabilitation proceeding (the “Japan Civil Rehabilitation”) in the

Tokyo Court pursuant to Article 21(1) of the Japanese Civil Rehabilitation Act (Minji Saisei Ho)

(the “JCRA”), reporting that the Debtor had lost almost 750,000 bitcoins shown on customers’

accounts and 100,000 bitcoins in the Debtor’s account. Subsequently, the Debtor discovered

200,000 bitcoins that were held in an old-format digital wallet, and it is now estimated that

approximately 650,000 bitcoins remain missing.

       7.      On March 9, 2014 (the “Chapter 15 Petition Date”), the Debtor commenced this

Chapter 15 case by filing a petition in this Court for recognition of the Japan Civil Rehabilitation

as a foreign main proceeding and for related relief under Chapter 15.

       8.      Following a preliminary investigation conducted by the Debtor, the Tokyo Court

decided to dismiss the Japan Petition pursuant to Article 25(3) of the JCRA, stating that under

the circumstances the Debtor would be unlikely to successfully prepare and approve a viable

rehabilitation plan. By orders entered on April 16, 2014, the Tokyo Court placed the Debtor in a

provisional administration by dismissing the Japan Petition and appointing the Petitioner as the

Debtor’s provisional administrator pending the commencement of a bankruptcy procedure under




                                                 3
    Case 14-31229-sgj15           Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                           Desc
                                    Main Document    Page 9 of 38



the Bankruptcy Act of Japan (the “Bankruptcy Act”).2 On April 24, 2014, the Tokyo Court

entered an order (the “Bankruptcy Order”) formally commencing the Debtor’s Japan Proceeding

and appointing the Petitioner as the Debtor’s bankruptcy trustee.

          9.       For a more complete description of the Debtor’s corporate structure, corporate

governance, historical business operations, and background leading up to the commencement of

the Japan Proceeding, the Petitioner respectfully refers the Court to the Amended Petition with

exhibits, the Declaration of Nobuaki Kobayashi, dated May 23, 2014 and filed

contemporaneously herewith (together with all exhibits attached thereto, the “Kobayashi

Declaration”). The Amended Petition and Kobayashi Declaration are incorporated by reference

as if fully set forth herein.

                                       JURISDICTION AND VENUE

          10.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P).

          11.      Venue for this proceeding is proper before this Court pursuant to 28 U.S.C §

1410.

          12.      The statutory predicates for the relief requested herein are sections 1509, 1515,

1516, 1517, 1520, 1521 and 1522 of the Bankruptcy Code.




2     English translations of the relevant provisions of the Bankruptcy Act are attached as Exhibit 1 to the Kobayashi
      Decl., and an English translation of the entire Bankruptcy Act is available at:
      http://www.japaneselawtranslation.go.jp/law/detail/?re=01&dn=1&x=0&y=0&co=1&ia=03&yo=&gn=&sy=&
      ht=&no=&bu=&ta=&ky=%E7%A0%B4%E7%94%A3%E6%B3%95&page=29.


                                                          4
 Case 14-31229-sgj15       Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                 Desc
                            Main Document     Page 10 of 38



                                         ARGUMENT

I.     THE JAPAN PROCEEDING MEETS
       THE REQUIREMENTS FOR RECOGNITION

       13.     Under section 1517(a) of the Bankruptcy Code, “an order recognizing a foreign

proceeding shall be entered if – (1) such foreign proceeding . . . is a foreign main proceeding or

foreign nonmain proceeding within the meaning of section 1502; (2) the foreign representative

applying for recognition is a person or body; and (3) the petition meets the requirements of

section 1515.” 11 U.S.C. § 1517(a). The Japan Proceeding is entitled to recognition as a

“foreign main proceeding” under section 1517 of the Bankruptcy Code because:

               a.     the Petitioner is a “person” within the meaning of section 101(41) of the
                      Bankruptcy Code and a “foreign representative” within the meaning of
                      section 101(24) of the Bankruptcy Code;

               b.     the Japan Proceeding is a “foreign proceeding” within the meaning of
                      section 101(23) of the Bankruptcy Code;

               c.     the Japan Proceeding is a “foreign main proceeding” within the meaning
                      of section 1502(4) of the Bankruptcy Code because the Japan Proceeding
                      is pending in the jurisdiction where the Debtor’s center of main interests is
                      located;

               d.     the Amended Petition meets the procedural requirements of section 1515
                      of the Bankruptcy Code; and

               e.     granting recognition of the Japan Proceeding as a foreign main proceeding
                      is not manifestly contrary to the public policy of the United States, and is
                      therefore required pursuant to section 1517 of the Bankruptcy Code.

       A.      The Petitioner Qualifies As the Debtor’s Foreign Representative.

       14.     The Amended Petition was filed by the Petitioner, the duly authorized “foreign

representative” of MtGox within the meaning of section 101(24) of the Bankruptcy Code. The

term “foreign representative” is defined in section 101(24) of the Bankruptcy Code as follows:

               The term “foreign representative” means a person or body,
               including a person or body appointed on an interim basis,
               authorized in a foreign proceeding to administer the reorganization


                                                5
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                 Desc
                             Main Document     Page 11 of 38



               or the liquidation of the debtor’s assets or affairs or to act as a
               representative of such foreign proceeding.

11 U.S.C. § 101(24). Additionally, section 101(41) of the Bankruptcy Code defines the term

“person” as an “individual, partnership, and corporation, but does not include governmental

unit.” 11 U.S.C. § 101(41).      There can be no dispute that the Petitioner, an individual, is a

“person.”

       15.     By the Bankruptcy Order, the Tokyo Court appointed the Petitioner as MtGox’s

bankruptcy trustee. A true and correct copy of the Bankruptcy Order along with a certified

English translation is attached as Exhibit A to the Amended Petition. Moreover, as set forth in

the Kobayashi Declaration, Article 78(1) of the Bankruptcy Act provides that the right to

administer and dispose of the debtor’s bankruptcy estate upon the commencement of a

bankruptcy procedure is vested solely in the bankruptcy trustee, who is under the supervision of

the Tokyo Court. See Kobayashi Decl. ¶ 46; see also Bankruptcy Act, Art. 75 (attached as

Exhibit 1 to the Kobayashi Decl.).

       16.     As the only person permitted under the Bankruptcy Act to administer the MtGox

bankruptcy estate, the Petitioner, in his capacity as bankruptcy trustee, thus qualifies as a

“foreign representative” under section 101(24) of the Bankruptcy Code. Specifically, he is a

“person” – i.e., an individual – that is “authorized in a foreign proceeding to administer the

reorganization or the liquidation of the debtor’s assets or affairs.” 11 U.S.C. § 101(24).

       B.      The Japan Proceeding is a Foreign Proceeding.

       17.     The Japan Proceeding is a “foreign proceeding” within the meaning of section

101(23) of the Bankruptcy Code. Section 101(23) of the Bankruptcy Code provides that:

               The term “foreign proceeding” means a collective judicial or
               administrative proceeding in a foreign country, including an
               interim proceeding, under a law relating to insolvency or
               adjustment of debt in which proceeding the assets and affairs of the


                                                 6
 Case 14-31229-sgj15          Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                      Desc
                               Main Document     Page 12 of 38



                debtor are subject to control or supervision by a foreign court, for
                the purpose of reorganization or liquidation.

11 U.S.C. § 101(23).

        18.     In In re Betcorp Ltd., 400 B.R. 266 (Bankr. D. Nev. 2009), the Bankruptcy Court

for the District of Nevada analyzed whether an Australian voluntary winding up proceeding

could be recognized as a foreign proceeding under Chapter 15. That court noted that Chapter 15

“incorporate[s] the Model Law on Cross-Border Insolvency,” and to interpret the term “foreign

proceeding,” “the court shall consider its international origin, and the need to promote an

application of this chapter that is consistent with the application of similar statutes adopted by

foreign jurisdictions.” Id. at 275-76 (quoting 11 U.S.C. § 1508).

                To fall within the scope of the Model Law, a foreign insolvency
                proceeding needs to possess certain attributes. These include the
                following: basis in insolvency-related law of the originating State;
                involvement of creditors collectively; control or supervision of the
                assets and affairs of the debtor by a court or another official body;
                and reorganization or liquidation of the debtor as the purpose of
                the proceeding.

Id. at 276 (quoting UNCITRAL Model Law on Cross-Border Insolvency with Guide to

Enactment, ¶ 32).

        19.     The court then conducted a lengthy examination of the Australian proceeding to

determine whether it met the section 101(23) requirements, namely whether it was: “(i) a

proceeding; (ii) that is either judicial or administrative; (iii) that is collective in nature; (iv) that is

in a foreign country; (v) that is authorized or conducted under a law related to insolvency or the

adjustment of debts; (vi) in which the debtor’s assets and affairs are subject to the control or

supervision of a foreign court; and (viii) which proceeding is for the purpose of reorganization or

liquidation.” Id. at 277. That court concluded that all relevant criteria were met and recognized

the Australian proceeding as a foreign proceeding.



                                                     7
 Case 14-31229-sgj15       Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                Desc
                            Main Document     Page 13 of 38



       20.     Similarly, the Japan Proceeding meets all of the criteria set forth in section

101(23) of the Bankruptcy Code and related case law thereto, and is therefore entitled to

recognition as a “foreign proceeding” under Chapter 15.

       21.     First, the Japan Proceeding is a “proceeding,” as it is a bankruptcy procedure

under the Bankruptcy Act that was initiated by the Tokyo Court pursuant to the Bankruptcy

Order following the dismissal of the Debtor’s Japan Civil Rehabilitation.

       22.     Second, the Japan Proceeding is “judicial” because it is: (a) a proceeding that the

Tokyo Court initiated by entering the Bankruptcy Order; and (b) a proceeding that the Tokyo

Court is required to oversee and supervise pursuant to Article 75 of the Bankruptcy Act. See

Kobayashi Decl. ¶¶ 45-46, 63; see also Bankruptcy Act, Art. 75 (attached as Exhibit 1 to the

Kobayashi Decl.).

       23.     Third, the Japan Proceeding is “collective in nature” because the claims of all

creditors will be addressed and resolved in a fair and neutral manner, without favoring any single

creditor or group of creditors. The court in Betcorp found that a proceeding was collective

where it “considers the rights and obligations of all creditors” in contrast to a “receivership

remedy instigated at the request, and for the benefit, of a single secured creditor.” 400 B.R. at

281; see also In re ABC Learning Ctrs. Ltd., 445 B.R. 318, 328 (Bankr. D. Del. 2010) (citing

Betcorp regarding the meaning of “collective in nature”), aff’d, 728 F.3d 301 (3d Cir. 2013).

       24.     Here, the Japan Proceeding is a bankruptcy procedure under the Bankruptcy Act,

which states that its purpose is to appropriately coordinate the interests of creditors and other

interested persons and the relationship of rights between debtors and creditors, see Bankruptcy

Act, Art. 1 (attached as Exhibit 1 to the Kobayashi Decl.), and requires that the distribution of

assets with regard to bankruptcy claims be done fairly and in proportion to the amounts of the




                                                8
 Case 14-31229-sgj15         Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                  Desc
                              Main Document     Page 14 of 38



bankruptcy claims of all creditors. See Bankruptcy Act, Art. 194(2) (attached as Exhibit 1 to the

Kobayashi Decl.). As such, the Japan Proceeding is collective in nature.

       25.     Fourth, the Japan Proceeding is pending in Japan, a foreign country.

       26.     Fifth, the Japan Proceeding is “authorized or conducted under a law related to

insolvency” because it is governed by the Bankruptcy Act, which specifies the proceedings for

the liquidation of property held by debtors who are unable to pay their debts or are insolvent.

See Bankruptcy Act, Art. 1 (attached as Exhibit 1 to the Kobayashi Decl.).

       27.     Sixth, the Japan Proceeding is “subject to the control or supervision of a foreign

court” because the Tokyo Court is required to supervise the fair and neutral administration of the

Debtor’s bankruptcy estate pursuant to Article 75 of the Bankruptcy Act. See Bankruptcy Act,

Art. 75 (attached as Exhibit 1 to the Kobayashi Decl.).

       28.     Seventh, the objective of the Japan Proceeding, as described above, is the

liquidation of the Debtor’s assets in a fair and neutral manner for the benefit of all creditors.

       29.     Significantly, since the enactment of Chapter 15, U.S. courts have routinely

recognized Japanese bankruptcy proceedings under the Bankruptcy Act (as well as other

proceedings under Japanese insolvency law) as foreign proceedings. See, In re Nanbu, Inc.,

Case No. 09-01274 (Bankr. D. Haw. July 15, 2009) [Docket No. 9] (recognizing Japanese

bankruptcy proceeding under Bankruptcy Act as a foreign main proceeding); In re Three Estates

Co., Ltd., Case No. 07-23597 (Bankr. E.D. Cal. Aug. 30, 2007) [Docket No. 31] (same); In re

Iida, Case No. 06-00376 (Bankr. D. Haw. July 14, 2006) [Docket No. 13] (same), aff’d 377 B.R.

243 (9th Cir. BAP 2007); In re Gestion-Privee Location L.L.C., Case No. 06-80071 (Bankr.

M.D.N.C. Feb. 24, 2006) [Docket No. 11] (same); In re Kokura, Case No. 06-00849 (Bankr. D.

Haw. Dec. 22, 2006) [Docket No. 21] (same); see also In re Elpida Memory, Inc., Case No. 12-




                                                  9
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                    Desc
                             Main Document     Page 15 of 38



10947 (Bankr. D. Del. Apr. 24, 2012) [Docket No. 65] (recognizing Japanese corporate

reorganization proceeding as a foreign main proceeding); In re Japan Airlines Corp., Case No.

10-10198 (Bankr. S.D.N.Y. Feb. 17, 2010) [Docket No. 49] (same); In re Spansion Japan Ltd.,

Case No. 09-11480 (Bankr. D. Del. May 28, 2009) [Docket No. 30] (same).

       30.     As all of the criteria required by section 101(23) of the Bankruptcy Code are

satisfied, this Court should recognize the Japan Proceeding as a “foreign proceeding” as required

by section 1517 of the Bankruptcy Code.

       C.      The Japan Proceeding Is A Foreign Main Proceeding.

       31.     A foreign proceeding within the meaning of section 101(23) of the Bankruptcy

Code may be recognized under section 1517 of the Bankruptcy Code as either (i) a “foreign main

proceeding” or (ii) a “foreign nonmain proceeding,” within the meaning of section 1502 of the

Bankruptcy Code. See 11 U.S.C. § 1517(a)(1).

       32.     Section 1502(4) defines “foreign main proceeding” as “a foreign proceeding

pending in the country where the debtor has the center of its main interests.” 11 U.S.C. §

1502(4). Section 1517(b)(1) of the Bankruptcy Code provides that a foreign proceeding “shall

be recognized as a foreign main proceeding if it is pending in the country where the debtor has

the center of its main interests.” 11 U.S.C. § 1517(b)(1) (emphasis added). Thus, where, as is

the case here, a foreign proceeding is pending in the country in which the debtor has its COMI,

such proceeding must be recognized as a foreign main proceeding. Additionally, the Fifth

Circuit and other courts have established that a debtor’s COMI is determined as of the time the

Chapter 15 petition for recognition is filed in the United States. See Lavie v. Ran (In re Ran),

607 F.3d 1017, 1025 (5th Cir. 2010); see also Morning Mist Holdings Ltd. v. Krys (In re

Fairfield Sentry Ltd.), 714 F.3d 127, 133 (2d Cir. 2013) (hereinafter “Fairfield Sentry II”).




                                                10
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                 Desc
                             Main Document     Page 16 of 38



               1.      The Statutory Presumption of a Japan COMI Applies.

       33.     The phrase “center of main interests” is a term of art that the Bankruptcy Code

does not define explicitly. See In re Betcorp Ltd., 400 B.R. at 287 (“the term ‘center of main

interests’ is not specifically defined, either in chapter 15 or the Model Law”). However, section

1516(c) of the Bankruptcy Code provides that, “in the absence of evidence to the contrary, the

debtor’s registered office . . . is presumed to be the center of the debtor’s main interests.” 11

U.S.C. § 1516(c); see In re Tri-Cont’l Exch. Ltd., 349 B.R. 627, 635 (Bankr. E.D. Cal. 2006)

(“In effect, the registered office (or place of incorporation) is evidence that is probative of, and

that may in the absence of other evidence be accepted as a proxy for, ‘center of main

interests.’”), aff’d, 389 B.R. 326 (S.D.N.Y. 2008); see also In re Ran, 607 F.3d at 1022; In re

Betcorp, 400 B.R. at 291; In re Bear Stearns High-Grade Structured Credit Strategies Master

Fund, 374 B.R. 122, 127 (Bankr. S.D.N.Y. 2007), aff’d 389 B.R. 325 (S.D.N.Y. 2008); In re

Tradex Swiss AG, 384 B.R. 34, 43 (Bankr. D. Mass. 2008).

       34.     In this case, the Debtor is a Japanese corporation and its registered office is, and

has always been, located in Japan. See Kobayashi Decl. ¶¶ 8, 14. Accordingly, there is a

statutory presumption that the Debtor’s COMI is in Japan.

       35.     Although the statutory presumption may be rebutted by “evidence to the

contrary,” the relevant evidence – and, in particular, documents from the Debtor’s books and

records attached to the Kobayashi Declaration – overwhelmingly demonstrates that the Debtor’s

COMI is located in Japan. Indeed, there is no plausible claim that the Debtor’s COMI exists in

any other jurisdiction. See In re Chiang, 437 B.R. 397, 403 (Bankr. C.D. Cal. 2010) (“a debtor

must have a COMI and it must be in a specific country”). Therefore, the presumption of a Japan

COMI cannot be rebutted and, even if the Court were to decide not to rely on the presumption,

the evidence affirmatively and unequivocally establishes a Japan COMI.


                                                11
 Case 14-31229-sgj15         Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                 Desc
                              Main Document     Page 17 of 38




               2.      The Debtor’s Central Place of Administration is
                       Located in Japan, a Fact that is Ascertainable by Third Parties.

       36.     U.S. courts and other relevant authorities have instructed that, in determining a

debtor’s COMI, the principal factors are the location of the debtor’s central place of

administration and whether that place of administration is ascertainable by third parties. For

example, in In re Ran, the Fifth Circuit held that:

               [I]t is important that the debtor’s COMI be ascertainable by third
               parties. If the debtor’s main interests are in a particular country
               and third parties observe this situation, it should be irrelevant that
               the debtor’s interests were previously centered in a different
               country . . . . The presumption is that creditors will look to the law
               of the jurisdiction in which they perceive the debtor to be operating
               to resolve any difficulties they have with that debtor, regardless of
               whether such resolution is informal, administrative or judicial.

607 F.3d at 1025-26. Moreover, in Fairfield Sentry II, the Second Circuit held that “[t]he

relevant principle . . . is that the COMI lies where the debtor conducts its regular business, so that

the place is ascertainable by third parties,” 714 F.3d at 130; see also In re Betcorp, 400 B.R. at

290 (the COMI determination “examines the debtor’s administration, management, and

operations along with whether reasonable and ordinary third parties can discern or perceive

where the debtor is conducting these various functions.”); In re Gerova Fin. Grp., Ltd., 482 B.R.

86, 91 (Bankr. S.D.N.Y. 2012) (whether COMI is “ascertainable to third parties” is “an

important factor in the COMI determination”).

       37.     Similarly, U.S. courts have also equated the COMI concept with “principal place

of business” under U.S. law. See In re Betcorp, 400 B.R. at 287 (“the phrase ‘center of main

interests’ . . . could have been replaced by ‘principal place of business’ as a phrase more familiar

to American judges and lawyers.”) (quoting Jay Lawrence Westbrook, Chapter 15 at Last, 79

AM. BANKR. L.J. 713, 719–20 (2005)); In re Bear Stearns High-Grade Structured Credit



                                                 12
    Case 14-31229-sgj15          Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                          Desc
                                  Main Document     Page 18 of 38



Strategies Master Fund, 374 B.R. at 129 (“[T]he COMI concept . . . generally equates with the

concept of a ‘principal place of business’ in United States law.”) (citing In re Tri-Cont'l Exch.

Ltd., 349 B.R. at 634). The principal place of business is where “a corporation’s officers direct,

control, and coordinate the corporation’s activities,” otherwise known as the corporation’s

“nerve center.” Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010); see also In re Fairfield Sentry

Ltd., 440 B.R. 60, 64 (Bankr. S.D.N.Y. 2010) (“Fairfield Sentry I”) (finding that the debtor’s

COMI was in the British Virgin Islands where “[a]lthough the Debtors’ assets and investors are

international, the facts before the Court suggest that the Debtors’ most feasible administrative

‘nerve center’ has existed for some time in the BVI”), aff’d, 2011 WL 4357421 (S.D.N.Y. Sept.

16, 2011), aff’d, 714 F.3d 127 (2d Cir. 2013).

          38.      In addition, and importantly, section 1508 of the Bankruptcy Code instructs

courts, in interpreting Chapter 15, to “consider its international origin, and the need to promote

an application of [Chapter 15] that is consistent with the application of similar statutes adopted

by foreign jurisdictions.”          11 U.S.C. § 1508.            Accordingly, the 2005 House Report 3

accompanying the enactment of Chapter 15 states that the Guide to Enactment of the

UNCITRAL Model Law on Cross-Border Insolvency (the “UNCITRAL Guide”)4 “should be

consulted for guidance as to the meaning and purpose of [Chapter 15’s] provisions.” H.R. Rep.

No. 109-31(I), at 106 n. 101 (2005), reprinted in 2005 U.S.C.C.A.N. 88; see also In re Tri-Cont’l

Exch. Ltd., 349 B.R. at 633 (“One of the sources that a United States court is obligated to treat as

persuasive is the [UNCITRAL Guide].”). Thus, U.S. courts frequently consult the UNCITRAL


3     Professor Jay Lawrence Westbook, an expert on Chapter 15 and cross-border insolvency law, has stated that the
      House Report is the “most important source of authoritative interpretation of Chapter 15.” Jay Lawrence
      Westbrook, Chapter 15 at Last, 79 AM. BANKR. L.J. 713, 719–20 (2005).
4     The sections of the UNCITRAL Guide cited herein are set forth in Exhibit A hereto. The full UNCITRAL
      Guide is available at http://www.uncitral.org/pdf/english/texts/insolven/1997-Model-Law-Insol-2013-Guide-
      Enactment-e.pdf.


                                                        13
    Case 14-31229-sgj15            Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                            Desc
                                    Main Document     Page 19 of 38



Guide in interpreting the provisions of Chapter 15. See, e.g., In re Ran, 607 F.3d at 1023

(consulting the UNCITRAL Guide in interpreting the scope of the COMI presumption); In re

Ephedra Prod. Liab. Litig., 349 B.R. 333, 336 (S.D.N.Y. 2006) (consulting the UNCITRAL

Guide in interpreting the public policy exception of section 1506, noting that “the House

Judiciary Committee, in enacting Chapter 15, specifically indicated that the Guide should be

consulted for guidance as to the meaning and purpose of Chapter 15’s provisions”) (internal

quotation marks omitted); Fairfield Sentry II, 714 F.3d at 132 (“The legislative history

accompanying the passage of Chapter 15 recommends the [UNCITRAL Guide] for guidance as

to the meaning and purpose of [the Model Law’s] provisions.”) (internal quotation marks

omitted).

          39.      In January 2014, the UNCITRAL Guide was revised in order to, among other

things, provide certain clarifications regarding the determination of a debtor’s COMI. Generally,

the UNCITRAL Guide advises that COMI should “correspond to the place where the debtor

conducts the administration of his interests on a regular basis and is therefore ascertainable by

third parties.”5 UNCITRAL Guide ¶¶ 82-83. Thus, and consistent with the U.S. authorities

referenced above, the UNCITRAL Guide instructs that two primary factors should be considered

in the COMI analysis, namely “the location: (a) where the central administration of the debtor

takes place, and (b) which is readily ascertainable by creditors.” Id. ¶ 145. According to the

UNCITRAL Guide, only when these principal factors do not yield a clear answer regarding the




5     This formulation correlates with the European Union Counsel Regulation enacting the Convention on
      Insolvency Proceedings, which states that “[t]he ‘centre of main interests’ should correspond to the place where
      the debtor conducts the administration of his interests on a regular basis and is therefore ascertainable by third
      parties.” Council Regulation (EC) No. 1346/2000 of 29 May 2000, Preamble ¶ 13. As the Second Circuit
      recently held, “[t]he focus on regularity and ascertainability should also inform our interpretation of the text.”
      Fairfield Sentry II, 714 F.3d at 136.



                                                           14
 Case 14-31229-sgj15         Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                 Desc
                              Main Document     Page 20 of 38



debtor’s COMI should a court then consider additional factors related to the debtor’s business.

Id. ¶ 146.

       40.       Application of the foregoing factors, identified by both U.S. courts and the

UNCITRAL Guide as most significant to the COMI determination, decidedly points to a Japan

COMI. First, the central administration of the Debtor is, and has always been, carried out in

Japan, as established by the following facts:

             •   The Debtor’s corporate headquarters (the “Head Office”) is, and has always been,
                 located in Tokyo, Japan. See Kobayashi Decl. ¶ 14.

             •   The Debtor has no offices or place of business outside of Japan. See id.

             •   Mr. Karpeles has been the only director or officer of the Debtor since its
                 inception, and he has resided in Japan during the entirety of this period. See id. ¶
                 16.

             •   The Debtor’s parent company, Tibanne, provides operational and administrative
                 services to the Debtor, including the provision of employees and making its
                 servers and computer systems available to the Debtor for its business operations.
                 See id. ¶ 18. Tibanne is a Japanese corporation and its headquarters and
                 employees are located in the same venue as the Debtor’s Head Office in Japan.
                 See id. ¶¶ 9, 14; see also In re British Am. Ins. Co. Ltd., 425 B.R. 884, 912
                 (Bankr. S.D. Fla. 2010) (holding that the location of the debtor’s management
                 functions, which were performed by its subsidiary as the debtor’s agent pursuant
                 to a services agreement, was relevant to the COMI determination).

             •   Upon the filing of the Japan Petition, the Debtor commenced an investigation in
                 Japan with regard to the circumstances that led to the Japan Civil Rehabilitation,
                 which investigation was subject to the oversight of the Tokyo Court. See
                 Kobayashi Decl. ¶¶ 37, 42; see also Fairfield Sentry II, 714 F.3d at 137 (“any
                 relevant activities, including liquidation activities and administrative functions,
                 may be considered in the COMI analysis”).

Critically, Japan is not only the central place of administration, head office and “nerve center” of

the Debtor, it is the sole place of administration. The Debtor has no offices or places of business

outside of Japan. It is therefore indisputable that that the Debtor’s place of central administration

is located in Japan.




                                                  15
 Case 14-31229-sgj15          Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57               Desc
                               Main Document     Page 21 of 38



       41.        Moreover, the evidence also establishes that the Debtor’s Japan COMI is

reasonably ascertainable by creditors and third parties. The Debtor has always held itself out as

a Japanese company that is located in Japan. Given the online nature of the Debtor’s business,

the Debtor has historically communicated and interfaced with its customers and creditors

worldwide        through   electronic   means,    and    in   particular   the   MtGox   website   –

http://www.mtgox.com (the “Website”).            When the MtGox Exchange was operational, the

Website communicated, inter alia, the following to its customers and others:

             •    The “Terms of Use” page of the Website referred to the Debtor as “a company
                  incorporated under the laws of Japan” and disclosed its registered address in
                  Tokyo. See Kobayashi Decl. ¶ 31.

             •    The “Privacy Policy” page of the Website noted the Debtor’s Tokyo address and
                  its Tokyo phone number. See id.

             •    The “About Us” page of the Website previously contained a link to the Debtor’s
                  “official registration at the Tokyo Chamber of Commerce.” See id.

             •    The Debtor required that customers provide certain verification documents in
                  order to deposit funds in or withdraw funds from their accounts. The “AML
                  Account Statuses” page of the Website instructed customers wishing to upgrade
                  their accounts to a “premium account” to mail their identification documents to
                  the Debtor’s office in Tokyo verification. See id. ¶ 27.

             •    The “General Questions Page” of the Website stated that the Debtor is based in
                  Japan and that, because of this, there may be a delay in the response time to some
                  user support inquiries. See id. ¶ 28.

       42.        Moreover, when the MtGox exchange was shut down and the Japan Petition was

filed in February 2014, the Debtor continued to use the Website to communicate with customers,

creditors and other parties. On February 28, 2014, the Debtor posted to the Website a notice

regarding the filing of the Japan Petition (the “February 28 Notice”). That notice listed the

Tokyo address of the Debtor’s Head Office.              It also communicated that the Debtor had

established a call center with a Tokyo telephone number and directed all inquiries to be made to




                                                   16
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                 Desc
                             Main Document     Page 22 of 38



that number (the “Call Center”). See id. ¶ 32. Subsequent to the February 28 Notice, the Debtor

published additional notices regarding the Japanese proceedings that identified both the Tokyo

address of the Head Office and details regarding the Call Center. See id. Moreover, upon the

appointment of the Petitioner as provisional administrator and, thereafter, as bankruptcy trustee,

the Petitioner has published additional notices on the Website, providing information regarding

the activities in Japan relating to the Debtor’s insolvency proceedings before the Tokyo Court.

See id. ¶ 33. See In re British Am. Ins. Co. Ltd., 425 B.R. at 914 (noting that a foreign

representative’s activities may cause the debtor’s creditors and third parties to look to the

location of the foreign representative as the debtor’s COMI).

       43.     Finally, further evidence that the Debtor’s Japan COMI was reasonably

ascertainable by third parties includes statements and admissions by CoinLab Inc. and the Class

Action plaintiffs in their respective complaints that MtGox, as well as its parent company

Tibanne, have their principal place of business in Tokyo.         See First Amended Complaint,

CoinLab, Inc. v. MtGox KK, Case No. 13-0777 (MJP) (W.D. Wash. May 2, 2013) [Docket No.

29], ¶¶ 3, 5; Corrected First Amended Class Action Complaint, Greene v. MtGox Inc., Case No.

14-01437 (GF) (N.D. Ill. Feb. 27, 2014) [Docket No. 37], ¶¶ 8-10.

       44.     In short, the evidence conclusively establishes that (i) the Debtor’s central place

of administration is in Japan, and (ii) that central place of administration is reasonably

ascertainable by creditors and other third parties, based on objective and publicly available facts.

               3.      Other Factors Also Support a Japan COMI.

       45.     The Petitioner respectfully submits that, because of the statutory presumption of a

Japan COMI and because the principal COMI factors unequivocally establish a Japan COMI, it

is not necessary for this Court to consider other factors. However, even if it does, additional




                                                 17
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                Desc
                             Main Document     Page 23 of 38



factors further support a finding that the Debtor’s COMI is in Japan, and those factors certainly

do not point to a COMI in any other jurisdiction.

       46.     In In re Ran, the Fifth Circuit identified several additional factors that may be

relevant to the COMI analysis:

               [T]he location of the debtor’s headquarters; the location of those
               who actually manage the debtor;. . . the location of the debtor’s
               primary assets; the location of the majority of the debtor’s creditors
               or of a majority of the creditors who would be affected by the case;
               and/or the jurisdiction whose law would apply to most disputes.

In re Ran, 607 F.3d at 1023 (citing In re SPhinX, 351 B.R. 103, 117 (Bankr. S.D.N.Y. 2006),

aff’d, 371 B.R. 10 (S.D.N.Y. 2007)). Notably, the analysis of additional COMI factors is a

flexible one, as “courts do not apply any rigid formula or consistently find one factor

dispositive.” In re Betcorp Ltd., 400 B.R. at 290.

       47.     Similarly, the UNCITRAL Guide also provides that “[w]hen [the] principal

factors do not yield a ready answer regarding the debtor’s [COMI], a number of additional

factors concerning the debtor’s business may be considered.” Id. ¶ 146. The additional factors

suggested in the UNCITRAL Guide are non-exclusive of other potential factors, but all factors

should be considered holistically and “give greater or less weight to a given factor, depending on

the circumstances of the particular case.” Id. The additional factors set forth in the UNCITRAL

Guide include the following:

               a.     the location of the debtor’s books and records;

               b.     the location where financing was organized or authorized, or from where
                      the cash management system was run;

               c.     the location in which the debtor’s principal assets or operations are found;

               d.     the location of the debtor’s primary bank;

               e.     the location of employees;



                                                18
 Case 14-31229-sgj15       Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                  Desc
                            Main Document     Page 24 of 38



              f.      the location in which commercial policy was determined;

              g.      the site of the controlling law or the law governing the main contracts of
                      the company;

              h.      the location from which purchasing and sales policy, staff, accounts
                      payable and computer systems were managed;

              i.      the location from which contracts (for supply) were organized;

              j.      the location from which reorganization of the debtor was being conducted;

              k.      the jurisdiction whose law would apply to most disputes;

              l.      the location in which the debtor was subject to supervision or regulation;
                      and

              m.      the location whose law governed the preparation and audit of accounts and
                      in which they were prepared and audited.

Id. ¶ 147.

       48.    As demonstrated in detail below, the additional factors that may be considered in

the COMI analysis either provide further support for a Japan COMI or, in some instances, are

neutral to the COMI analysis. These factors do not establish, or even remotely suggest, that the

Debtor’s COMI is located in any jurisdiction other than Japan. The other potentially relevant

factors that have not otherwise been addressed above are as follows:

       49.    The Location of the Debtor’s Primary Assets. As of February 20, 2014, the

Debtor’s liquid assets (other than bitcoins) included approximately $4.9 million of fiat currency

held in approximately 43 accounts with 14 different banks and payment service providers. See

Kobayashi Decl. ¶ 51. Of those 43 accounts, 39 are located in Japan, and the others are located

in the Caribbean, Europe and Australia. See id. The Debtor’s primary operational bank account

has always been located in Japan.      See id.        The Petitioner has also repatriated to Japan

approximately $5 million in fiat currency that was previously held in MtGox Poland accounts.




                                                 19
 Case 14-31229-sgj15         Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57               Desc
                              Main Document     Page 25 of 38



See id. ¶ 52. In addition, the Debtor has a potential claim to recover all or a portion of

approximately $5 million of cash that the United States Department of Homeland Security seized

in March 2013, which may include funds belonging to the Debtor. See id. ¶ 53. The Debtor’s

other tangible assets include servers and other computer equipment located in Japan. See id. ¶

54.

       50.       The Location of a Majority of the Debtor’s Creditors.        As set forth in the

Kobayashi Declaration, the Debtor has approximately 120,000 customers, but the Petitioner is

currently only aware of the location of approximately 80,000 of them. See id. ¶ 24. These

known customers are located in approximately 175 countries around the world.                See id.

Although approximately 30,000 customers are located in the United States, see id., that is plainly

not a majority, and there are a significant number of customers in other countries, including

Germany, Canada, the United Kingdom and France, as well as over 1,000 customers in Japan.

See id. Additionally, the Debtor has at least 10 trade creditors that provided goods or services to

the Debtor prior to the filing of the Japan Petition. Of these trade creditors, approximately 5

have offices located in Japan. The remaining trade creditors are located in various jurisdictions,

including the United States, the United Kingdom, Poland, and India. See id. ¶ 29.

       51.       The Law Governing Disputes Under Key Contracts.            As described in the

Kobayashi Declaration, the Debtor has entered into a number of contracts relating to its business

and operations, which are governed by the laws of various jurisdictions, including Japan:

             •   The Debtor’s most important contract is its Services Agreement with Tibanne.
                 Although the Services Agreement does not contain a choice of law provision, any
                 disputes arising under the Services Agreement will likely be governed by
                 Japanese law because: (i) both parties are Japanese companies; (ii) performance
                 under the Services Agreement occurs in Japan; and (iii) the subject matter of the
                 contract relates to assets located in and services performed in Japan. See
                 Kobayashi Decl. ¶¶ 18, 55; see also Services Agreement (attached as Exhibit 7 to
                 the Kobayashi Decl.).



                                                20
 Case 14-31229-sgj15         Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57              Desc
                              Main Document     Page 26 of 38




             •   Of the Debtor’s two Outsourcing Agreements, pursuant to which independent
                 contractors provide customer support services, one is governed by Japanese law
                 and the other is governed by Indian law. See id. ¶ 19.

             •   An “anti-money laundering” services agreement is governed by English law. See
                 id. ¶ 20.

             •   An agreement for the provision of services related to the design and development
                 of a marketing website is governed by the law of Ontario, Canada. See id.

             •   The license agreement between the Debtor and CoinLab, Inc. (which is subject to
                 dispute in the CoinLab Action (defined below)) for the operation of the Debtor’s
                 business in the United States and Canada (which agreement was never performed)
                 is governed by the law of the State of Washington. See id. ¶ 57.

             •   The agreement for the MtGox NA joint venture is governed by the laws of both
                 Japan and the State of Indiana. See id. ¶ 11.

       52.       The Location of the Debtor’s Books and Records.          The Debtor’s books and

records are located at the Debtor’s Head Office in Japan. See id. ¶ 15.

       53.       The Location of Cash Management System. As previously stated, the Debtor has

43 bank accounts, of which 39 are located in Japan. See id. ¶ 51. Furthermore, the Debtor’s

Head Office was its only office and thus the only office from which the cash management system

could be managed. See id. ¶ 14.

       54.       The Location of the Debtor’s Primary Bank. The Debtor’s primary bank for

business activities was the Japan Net Bank, Limited, which is located in Japan. See id. ¶ 51.

       55.       The Location of Employees and Staff. The Debtor does not have, and has never

had, any direct employees, but instead relies on the Services Agreement with Tibanne for its

workforce. All of the employees provided by Tibanne under the Services Agreement performed

their work in Japan. See id. ¶ 18. Pursuant to the Outsourcing Agreements, the Debtor had

approximately 40 individuals working on its behalf in the United Kingdom and India. See id. ¶




                                                21
 Case 14-31229-sgj15       Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                Desc
                            Main Document     Page 27 of 38



19. Additionally, the Debtor had one independent contractor working on its behalf in Peru. See

id.

          56.   The Location Where Commercial Policy Was Determined.            At all times, the

Debtor’s Head Office – and its only office – was located in Japan. See id. ¶ 14. Additionally,

the Debtor’s sole director and representative director has always been Mr. Karpeles, who at all

relevant times has resided in Japan. See id. ¶ 16. As such, Japan is the only place where the

Debtor’s commercial policy could have been determined.

          57.   The Location of Computer Systems. The Debtor owns servers and other computer

equipment located in Japan. See id. ¶ 54. Pursuant to the Services Agreement, the Debtor also

leases from Tibanne several servers that are located in Japan. See id. ¶ 55. Tibanne also leases

certain backup servers, which contain some of the Debtor’s data, from third parties, and such

backup servers were, as of the Chapter 15 Petition Date, located in the United States, the United

Kingdom, France and Germany. See id.

          58.   The Location from which the Debtor’s Reorganization was Conducted. Both the

Debtor’s Japan Civil Rehabilitation and Japan Proceeding have been conducted in Japan, under

the supervision of the Tokyo Court, with the Tokyo-based Petitioner initially acting as supervisor

and examiner, and then provisional administrator, and now bankruptcy trustee in those

proceedings. See id. ¶¶ 38-47.

          59.   The Location in Which the Debtor was Subject to Supervision/Regulation. Under

the Bankruptcy Order and the Bankruptcy Act, the Debtor is subject to the supervision of the

Tokyo Court located in Japan. See id. ¶¶ 45-46; see also Bankruptcy Order (attached as Exhibit

A to the Amended Petition); Bankruptcy Act, Art. 75 (attached as Exhibit 1 to the Kobayashi

Decl.).




                                               22
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                Desc
                             Main Document     Page 28 of 38



       60.     The Location Whose Law Governs Account Audits. Under Japanese corporate

law, the Debtor is not legally obligated to have financial statements audited by a third party, and

the Debtor did not have its accounts audited. See id. ¶ 17. The Debtor did, however, have

unaudited financial statements prepared by Japan-based accountants Aoyama & Partners,

pursuant to an agreement governed by Japanese law. See id.

       61.     Viewing the totality of the relevant contacts between the Debtor and the various

jurisdictions with which it has contacts and interests, it is clear that no jurisdiction other than

Japan has a plausible claim as the Debtor’s COMI. In comparison to the Debtor’s substantial

connections with Japan, its connections with other jurisdictions are minimal and scattered, and

therefore insufficient to support a finding that COMI exists elsewhere.

       62.     Given (i) the statutory presumption of a Japan COMI, (ii) that the Debtor’s central

place of administration is and always has been in Japan, (iii) that a Japan COMI is and was

reasonably ascertainable by creditors and other third parties, and (iv) the Debtor’s other material

connections to Japan, this is a clear-cut case that the Debtor’s COMI is in Japan. Accordingly,

the Japan Proceeding should be recognized as a “foreign main proceeding” within the meaning

of section 1502(4) of the Bankruptcy Code.

       D.      In the Event the Japan Proceeding
               Is Not Recognized as a Foreign Main Proceeding,
               It Should Be Recognized as a Foreign Nonmain Proceeding.

       63.     As discussed in detail above, the evidentiary record does not rebut the statutory

presumption that the Debtor’s COMI is in Japan; to the contrary, the record affirmatively and

clearly establishes COMI in Japan and no place else. However, in the event this Court concludes

that the Japan Proceeding is not a “foreign main proceeding,” then the Petitioner submits that the

Japan Proceeding should be recognized, in the alternative, as a “foreign nonmain proceeding”

within the meaning of section 1502(5) of the Bankruptcy Code.


                                                23
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57               Desc
                             Main Document     Page 29 of 38



          64.   As stated above, section 1517(a) of the Bankruptcy Code provides that “an order

recognizing a foreign proceeding shall be entered if (1) such foreign proceeding for which

recognition is sought is a foreign main proceeding or foreign nonmain proceeding within the

meaning of section 1502.” 11 U.S.C. § 1517(a)(1). Section 1502(5) of the Bankruptcy Code

defines foreign nonmain proceeding as “a foreign proceeding, other than a foreign main

proceeding, pending in a country where the debtor has an establishment.” 11 U.S.C. § 1502(5).

          65.   To qualify as a foreign nonmain proceeding, a debtor must have an establishment

in the country in which the foreign proceeding is pending. Id. “Establishment” is defined in

section 1502(2) of the Bankruptcy Code to mean “any place of operations where the debtor

carries out a nontransitory economic activity.” 11 U.S.C. § 1502(2). “Nontransitory economic

activity” is not defined in the Bankruptcy Code, but the place in which such activity is conducted

has been interpreted to mean “a place of business.” See In re Ran, 607 F.3d at 1027 (citing Bear

Stearns, 374 B.R. at 131). Similar to the time of evaluating a debtor’s COMI, whether the debtor

has an “establishment” in a country is also determined as of the time of the filing of the Chapter

15 petition. In re Ran, 607 F.3d at 1027.

          66.   Here, nontransitory economic activity in respect of the Debtor is and has been

carried out in Japan. Although it had customers all over the world, the Debtor has always

maintained a single place of business, which is located in Japan. See Kobayashi Decl. ¶ 14. It is

from that place of business that the Debtor controlled and managed its operations and assets.

Moreover, upon the commencement of the Japan Proceeding and the Petitioner’s appointment as

bankruptcy trustee in April 2014, the Petitioner has actively managed the Debtor’s business and

assets from the Tokyo offices of his law firm, Nagashima Ohno & Tsunematsu. See id. ¶¶ 46-

47, 65.




                                               24
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                 Desc
                             Main Document     Page 30 of 38



       67.     The Debtor has “a place of business” in Japan because it has always maintained

its only office there and its winding up activities are based in that jurisdiction. Thus, the Debtor

has an “establishment” in Japan. See In re Millennium Global Emerging Credit Master Fund

Ltd., 458 B.R. 63, 85 (Bankr. S.D.N.Y. 2011) (noting that the threshold requirements of an

establishment are the existence of an asset in a country together with evidence of some

management thereof within that country), aff'd, 474 B.R. 88 (S.D.N.Y. 2012).

       68.     Accordingly, in the event this Court declines to recognize the Japan Proceeding as

a foreign main proceeding, it should alternatively conclude that the Japan Proceeding is entitled

to recognition as a “foreign nonmain proceeding” within the meaning of 1502(5) of the

Bankruptcy Code.

       E.      The Requirements of Section 1515 Have Been Satisfied.

       69.     Section 1515 of the Bankruptcy Code sets forth three technical requirements that

must be satisfied to obtain recognition: (i) the foreign representative must file a petition for

recognition; (ii) the foreign representative must establish that a foreign proceeding exists by

providing a certified copy of the decision commencing the foreign proceeding; and (iii) the

petition for recognition must be accompanied by a statement identifying all foreign proceedings

with respect to the debtor that are known to the foreign representative. See 11 U.S.C §§ 1515,

1517(a)(3); see also In re Ran, 607 F.3d at 1021.          Additionally, section 1515(d) of the

Bankruptcy Code requires that the foreign representative provide English translations of the

decision commencing the foreign proceeding. See 11 U.S.C. § 1515(d).

       70.     Here, the Petitioner has filed with the Court (i) the Amended Petition; (ii) a

certified copy of the Bankruptcy Order, along with a certified English translation, which affirms

the existence of the Japan Proceeding and the appointment of the Petitioner as the bankruptcy

trustee, in satisfaction of section 1515(b)(1) of the Bankruptcy Code, see Amended Petition,


                                                25
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                Desc
                             Main Document     Page 31 of 38



Exhibit E; and (iii) a statement verifying that the Petitioner is not aware of any foreign

proceedings with respect to MtGox other than the Japan Proceeding, in satisfaction of section

1515(c) of the Bankruptcy Code. See id. Exhibit B. As such, the Petitioner has satisfied each of

the technical requirements for recognition pursuant to section 1515 of the Bankruptcy Code.

       F.      Recognition of the Japan Proceeding
               Would Not Be Manifestly Contrary to U.S. Public Policy

       71.     Section 1517(a) of the Bankruptcy Code provides that entry of an order

recognizing a foreign proceeding is “subject to section 1506.” Section 1506 of the Bankruptcy

Code provides as follows:

               Nothing in this chapter prevents the court from refusing to take an
               action governed by this chapter if the action would be manifestly
               contrary to the public policy of the United States.

11 U.S.C. § 1506.

       72.     Notwithstanding the potential applicability of section 1506 in connection with the

recognition determination, the Fifth Circuit and other courts have instructed that it must be

construed very narrowly. See In re Ran, 607 F.3d at 1021 (“the exception is intended to be

invoked only under exceptional circumstances concerning matters of fundamental importance

for the United States”) (emphasis added); In re Tri-Cont’l Exch. Ltd., 349 B.R. at 638 n.16 (“The

word ‘manifestly’ in international usage restricts the public policy exception to the most

fundamental policies of the United States . . . [Its purpose] . . . is to emphasize that the public

policy exception should be interpreted restrictively and that [provision] is only intended to be

invoked under exceptional circumstances concerning matters of fundamental importance for the

enacting State.”) (citing the UNICTRAL Guide) (emphasis added); Fairfield Sentry II, 714 F.3d

at 139 (“The statutory wording [of section 1506] requires a narrow reading.”).




                                                26
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                  Desc
                             Main Document     Page 32 of 38



        73.    In this case, there is no U.S. public policy whatsoever that would be contravened

by recognition of the Japan Proceeding. As noted above, since the enactment of Chapter 15,

U.S. courts have routinely recognized Japanese bankruptcy proceedings under the Bankruptcy

Act. See supra ¶ 29 (citing cases); see also In re Iida, 377 B.R. 243, 259 (9th Cir. BAP 2007)

(stating that objector-appellants “have not articulated a fundamental policy of the United States

that is offended by recognizing the Japanese bankruptcy proceeding”).

        74.    Indeed, recognizing the Japan Proceeding as a foreign main proceeding would

advance the express objectives of Chapter 15 set forth in section 1501 of the Bankruptcy Code,

including: (i) the “fair and efficient administration of cross-border insolvencies that protects the

interests of all creditors and other interested entities, including the [D]ebtor,” 11 U.S.C. §

1501(a)(3); and (ii) the “protection and maximization of the value of the [D]ebtor’s assets.” 11

U.S.C. § 1501(a)(4). Here, foreign main recognition will, inter alia, give the Debtor the benefit

of the automatic stay in the United States, see 11 U.S.C. § 1520(a)(1), and give the Petitioner, as

the Debtor’s foreign representative, access to U.S. courts for relief in aid of the Japan

Proceeding. See 11 U.S.C. § 1509(b). Thus, recognition will materially aid Petitioner’s efforts

to maximize recoveries for, and provide for an equitable distribution of value among, all

creditors.

II.     THE PETITIONER REQUESTS
        ADDITIONAL NECESSARY AND APPROPRIATE
        RELIEF PURSUANT TO BANKRUPTCY CODE SECTION 1521(a)

        75.    Upon recognition of the Japan Proceeding, whether as a foreign main or foreign

nonmain proceeding, this Court is empowered to grant “any appropriate relief” pursuant to

section 1521(a) of the Bankruptcy Code where such relief is “necessary to effectuate the purpose

of [Chapter 15] and to protect the assets of the debtor or the interests of the creditors.” 11 U.S.C.

§ 1521(a). Relief under Section 1521(a) is appropriate so long as “the interests of the creditors


                                                 27
    Case 14-31229-sgj15             Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                               Desc
                                     Main Document     Page 33 of 38



and other interested entities, including the debtor, are sufficiently protected.” 11 U.S.C. §

1522(a).

          76.       Here, the Petitioner respectfully requests that this Court grant the following

additional relief under section 1521(a): (i) granting the Petitioner the right, upon recognition, to

seek leave to examine witnesses, take evidence or deliver information concerning the debtor’s

assets, affairs, rights, obligations or liabilities, pursuant to section 1521(a)(4); and (ii) entrusting

the Petitioner, as the Debtor’s foreign representative, with the administration or realization of all

of the Debtor’s assets within the territorial jurisdiction of the United States, pursuant to section

1521(a)(5).6

          77.       The additional relief requested by the Petitioner under section 1521(a) of the

Bankruptcy Code will assist the Petitioner in carrying out his duties as bankruptcy trustee and

will promote the effective administration of the Japan Proceeding. In particular, the Petitioner,

as bankruptcy trustee, is tasked with investigating the bankruptcy estate.                             As part of that

investigation, the Petitioner may need to seek discovery against parties in the United States.

          78.       Moreover, under Article 78(1) of Bankruptcy Act, the Petitioner, as the Debtor’s

bankruptcy trustee, has the sole right and power to administer the assets of the Debtor’s

bankruptcy estate. See Bankruptcy Act, Art. 78(1) (attached as Exhibit 1 to the Kobayashi

Decl.).      The entrustment relief requested herein will, therefore, assist the Petitioner in

administering the Debtor’s global estate in an efficient and value-maximizing manner, for the


6     11 U.S.C. §§ 1521(a)(4)-(5) provides, in relevant part, that “(a) Upon recognition of a foreign proceeding,
      whether main or nonmain, where necessary to effectuate the purpose of this chapter and to protect the assets of
      the debtor or the interests of the creditors, the court may, at the request of the foreign representative, grant any
      appropriate relief, including – (4) providing for the examination of witnesses, the taking of evidence or the
      delivery of information concerning the debtor’s assets, affairs, rights, obligations or liabilities; [and] (5)
      entrusting the administration or realization of all or part of the debtor’s assets within the territorial jurisdiction
      of the United States to the foreign representative or another person, including an examiner, authorized by the
      court.”



                                                             28
    Case 14-31229-sgj15            Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                             Desc
                                    Main Document     Page 34 of 38



benefit of all creditors. As such, the Petitioner respectfully submits that the discovery rights and

entrustment relief requested herein satisfy the criteria under sections 1521(a) and 1522(a) of the

Bankruptcy Code, and therefore requests that this Court grant such relief.7

                                                  CONCLUSION

          WHEREFORE, for the foregoing reasons, the Petitioner respectfully requests that this

Court enter an Order: (i) recognizing the Japan Proceeding as a foreign main proceeding or, if

not so recognized, as a foreign nonmain proceeding; (ii) granting the Petitioner additional

necessary and appropriate relief pursuant to section 1521(a) of the Bankruptcy Code; and (iii)

granting such other and further relief as may be just and proper.


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7     In the event the Court recognizes the Japan Proceeding as a foreign nonmain proceeding, the Petitioner also
      requests relief under Sections 1521(a)(1)-(3), which allows the Court, as a discretionary matter, to grant the
      relief that is automatically available upon foreign main recognition pursuant to Section 1520(a). That relief
      includes: “(1) staying the commencement or continuation of an individual action or proceeding concerning the
      debtor’s assets, rights, obligations or liabilities to the extent they have not been stayed under section 1520(a);
      (2) staying execution against the debtor’s assets to the extent it has not been stayed under section 1520(a); [and]
      (3) suspending the right to transfer, encumber or otherwise dispose of any assets of the debtor to the extent this
      right has not been suspended under section 1520(a).” 11 U.S.C. § 1521(a)(1)-(3).



                                                           29
Case 14-31229-sgj15      Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57         Desc
                          Main Document     Page 35 of 38



Dated:   May 23, 2014                   Respectfully submitted,
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                                        30
Case 14-31229-sgj15   Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57   Desc
                       Main Document     Page 36 of 38




                            EXHIBIT A:

    Cited Provisions of the UNCITRAL Guide
 Case 14-31229-sgj15        Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57                Desc
                             Main Document     Page 37 of 38



                      Cited Provisions of the UNCITRAL Guide

Subparagraph (b) – foreign main proceeding

82.    The Model Law does not define the concept “centre of main interests”. However, an
explanatory report (the “Virgos-Schmit Report”), prepared with respect to the European
Convention, provided guidance on the concept of “main insolvency proceedings” and
notwithstanding the subsequent demise of the Convention, the Report has been accepted
generally as an aid to interpretation of the term “centre of main interests” in the EC Regulation.
Since the formulation “centre of main interests” in the EC Regulation corresponds to that of the
Model Law, albeit for different purposes (see para. 141 below), jurisprudence interpreting the EC
Regulation may also be relevant to interpretation of the Model Law.

83.    Recitals (12) and (13) of the EC Regulation state:

               “(12) This Regulation enables the main insolvency proceedings to
               be opened in the Member State where the debtor has the centre of
               his main interests. These proceedings have universal scope and aim
               at encompassing all the debtor’s assets. To protect the diversity of
               interests, this Regulation permits secondary proceedings to be
               opened to run in parallel with the main proceedings. Secondary
               proceedings may be opened in the Member State where the debtor
               has an establishment. The effects of secondary proceedings are
               limited to the assets located in that State. Mandatory rules of
               coordination with the main proceedings satisfy the need for unity
               in the Community.

               “(13) The ‘centre of main interests’ should correspond to the place
               where the debtor conducts the administration of his interests on a
               regular basis and is therefore ascertainable by third parties.”


Factors relevant to the determination of centre of main interests

145. In most cases, the following principal factors, considered as a whole, will tend to indicate
whether the location in which the foreign proceeding has commenced is the debtor’s centre of
main interests. The factors are the location: (a) where the central administration of the debtor
takes place, and (b) which is readily ascertainable by creditors. The date at which these factors
should be analysed in order to determine the location of the debtor’s centre of main interests is
addressed in paragraphs 157-160 below.

146. When these principal factors do not yield a ready answer regarding the debtor’s centre of
main interests, a number of additional factors concerning the debtor’s business may be
considered. The court may need to give greater or less weight to a given factor, depending on
the circumstances of the particular case. In all cases, however, the endeavour is an holistic one,
designed to determine that the location of the foreign proceeding in fact corresponds to the actual
 Case 14-31229-sgj15         Doc 128 Filed 05/23/14 Entered 05/23/14 13:18:57               Desc
                              Main Document     Page 38 of 38



location of the debtor’s centre of main interests, as readily ascertainable by creditors.

147. The order in which the additional factors are set out below is not intended to indicate the
priority or weight to be accorded to them, nor is it intended to be an exhaustive list of relevant
factors; other factors might be considered by the court as applicable in a given case. The
additional factors may include the following: the location of the debtor’s books and records; the
location where financing was organized or authorized, or from where the cash management
system was run; the location in which the debtor’s principal assets or operations are found; the
location of the debtor’s primary bank; the location of employees; the location in which
commercial policy was determined; the site of the controlling law or the law governing the main
contracts of the company; the location from which purchasing and sales policy, staff, accounts
payable and computer systems were managed; the location from which contracts (for supply)
were organized; the location from which reorganization of the debtor was being conducted; the
jurisdiction whose law would apply to most disputes; the location in which the debtor was
subject to supervision or regulation; and the location whose law governed the preparation and
audit of accounts and in which they were prepared and audited.




                                                  2
